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FILED
U.S. DISTRICT COURT
DISTRICT OF COLORADO

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THE UNITED STATES DISTRICT COURT FOR THEFFREY COLWELL

DISTRICT OF COLORADO
BY_...__ DEP. €
VICKI DLLARD CROWE, pro se CLK
Plaintiff,
v.

JEFFEREY D. SERVIN, ESQ., ET AL,
Defendants. Case No. 17-ev-01344 LTE

 

NOTICE OF APPEAL

 

Appearing pro se, Plaintiff VICKI DLLARD CROWE files this NOTICE OF
APPEAL due to the grave injustice she has suffered by the Defendants, and now, a dense
miscarriage of justice due to the district court's ruling to dismiss her case.

Pro se Plaintiff VICKI DLLARD CROWE appeals the final order/judgment
entered upon or about September 8, 2017, along with any other appealable
orders/judgments/directives made in this case by this lower Court.

Pro se Plaintiff VICKI DLLARD CROWE, notwithstanding the injustice suffered
by the Defendants prima facie, and though inarguably filing this matter in good faith,
explicitly based on the direct instructions of the initial ruling judge, Judge Brooke
Jackson, this Court has denied her just and lawful request to receive remedy. To add to
that, though she is indigent and has filed requisite paperwork proving the same- for which
this court waived all prior fees and the magistrate judge found Plaintiff compliant in all
respects - the ruling judge refused to waive the appeals filing fee.

As such, Pro se Plaintiff VICKI DLLARD CROWE * requests an appeal pro se
packet from the 10th Circuit Court of Appeals; any and all associated requisite appeals
forms needed; and that it waives the appeals fee; as it is plain that this case was filed at
the direction of Judge Jackson and in good faith with provable indigent status. Finally, if
it pleases the Appeals Court, Plaintiff requests that it assign her an attorney on this matter
in order to sort out any possibility of bad faith filing, thus speeding the economy of this
appeal.
Case 1:17-cv-01344-LTB Document 12 Filed 10/06/17 USDC Colorado Page 2 of 2

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Respectfully submy his 6th day of October, 2017.

 
 

Pro se Plaintiff yy DLLARD CROWE

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CERTIFICTE OF SERVICE
The foregoing was served this 10/6/17 to Jeffery D. Servin, Esq. via US postage paid
mail to:
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Pro se Plaintiff VICKI DLLARD CROWE
